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 6 Attorneys for Plaintiff, Jinzheng Group (USA)
   LLC, Debtor and Debtor in Possession
 7

 8                                  UNITED STATES BANKRUPTCY COURT

 9                                   CENTRAL DISTRICT OF CALIFORNIA

10                                          LOS ANGELES DIVISION

11

12 In re                                                   Case No. 2:21-bk-16674-ER

13 JINZHENG GROUP (USA) LLC,                               Chapter 11

14                     Debtor and Debtor in
                       Possession.
15

16 JINZHENG GROUP (USA) LLC,                               Adv. No.

17                     Plaintiff,                          DEBTOR’S COMPLAINT: (1) TO AVOID
                                                           AND RECOVER FRAUDULENT OR
18            vs.                                          AVOIDABLE TRANSFERS AND (2) FOR
                                                           UNJUST ENRICHMENT
19 N VISION DEVELOPMENT GROUP, LLC,
                                                           Date:    SEE SUMMONS
20                     Defendant.                          Time:    SEE SUMMONS
                                                           Ctrm.:   SEE SUMMONS
21
              Jinzheng Group (USA) LLC (“Plaintiff” or the “Debtor”), Debtor and Debtor in Possession,
22
     alleges as follows:
23
                            CASE BACKGROUND, JURISDICTION AND VENUE
24
              1.       The Debtor’s bankruptcy case was commenced on or about August 24, 2021 (the
25
     “Petition Date”), when Jinzheng Group (USA) LLC, as Debtor, filed a voluntary petition for relief
26
     under chapter 11 of title 11 of the United States Code (the “Code”). The Debtor’s case (the
27

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 1 “Bankruptcy Case”) was assigned case no. 2:21-bk-16674-ER and is pending in the United States

 2 Bankruptcy Court for the Central District of California (the “Bankruptcy Court”).

 3            2.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

 4 §§ 157 and 1334. The claims for relief alleged in this Complaint arise under the Code and are

 5 related to the Bankruptcy Case.

 6            3.       This action is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (H), and (O).

 7            4.       Venue for this adversary proceeding properly lies in this judicial district pursuant to

 8 28 U.S.C. § 1409(a), in that this adversary proceeding arises in, and is related to, the Bankruptcy

 9 Case.

10

11                                                THE PARTIES

12            5.       Plaintiff is, and at all relevant times herein was, a Limited Liability Company in the

13 State of California in the County of Los Angeles.

14            6.       Upon information and belief, Defendant N Vision Development Group is, and at all

15 relevant times was, an entity located or doing business in the State of California.

16

17                                        GENERAL ALLEGATIONS

18            7.       Plaintiff is informed and believes and, based thereon, alleges that the Debtor made

19 certain transfers to the Defendant totaling no less than $204,493.58 including, but not limited to,

20 transfers on the following dates in the following amounts (jointly and severally, the “Subject

21 Transfers”): $100,000 on or about March 30, 2018; $100,000 on or about April 23, 2018; and

22 $4,493.58 on or about November 8, 2018.

23            8.       Plaintiff is informed and believes and, based thereon, alleges that at the times the

24 Subject Transfers were made, Debtor was insolvent.

25            9.       Plaintiff is informed and believes and, based thereon, alleges that the Subject

26 Transfers were made without Debtor receiving fair consideration or reasonably equivalent value in

27 exchange.

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 1            10.       Plaintiff is informed and believes and, based thereon, alleges that there are one or

 2 more creditors of the Debtor holding unsecured claims allowable under 11 U.S.C. § 502 or not

 3 allowable only under 11 U.S.C. § 502(e), that could have avoided the transfers herein under

 4 applicable law.

 5

 6                                         FIRST CLAIM FOR RELIEF

 7                     (For Avoidance and Recovery of Fraudulent or Avoidable Transfers)

 8            11.       Plaintiff refers to and incorporates herein by reference each and every allegation

 9 contained in paragraphs 1 through 10, inclusive.

10            12.       Plaintiff is informed and believes, and thereon alleges, that the Subject Transfers

11 were made with the actual intent to hinder, delay, or defraud the Debtor’s creditors.

12            13.       Pursuant to 11 U.S.C. §§ 544, 548(a)(1)(A), 550, and other applicable law,

13 including, without limitation, California Civil Code §§ 3439.04(a)(1) and 3439.07, Plaintiff is

14 entitled to avoid the Subject Transfers and to recover from Defendant the property transferred

15 under the Subject Transfers or their value, plus interest thereon at the maximum legal rate, in a sum

16 according to proof.

17                                       SECOND CLAIM FOR RELIEF

18                     (For Avoidance and Recovery of Fraudulent or Avoidable Transfers)

19            14.       Plaintiff refers to and incorporates herein by reference each and every allegation

20 contained in paragraphs 1 through 10, inclusive.

21            15.       Plaintiff is informed and believes, and thereon alleges, that Debtor made the Subject

22 Transfers, and each of them, without receiving fair consideration or reasonably equivalent value in

23 exchange.

24            16.       Plaintiff is informed and believes, and thereon alleges, that the Subject Transfers

25 occurred at a time when the Debtor was insolvent or as a result of which the Debtor became

26 insolvent.

27            17.       Pursuant to 11 U.S.C. §§ 544, 548(a)(1)(B)(ii)(I), 550, and other applicable law,

28 including, without limitation, California Civil Code §§ 3439.05 and 3439.07, Plaintiff is entitled to
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 1 avoid the Subject Transfers, and each of them, and to recover from Defendant the property

 2 transferred under the Subject Transfers or their value, plus interest thereon at the maximum legal

 3 rate, in a sum according to proof.

 4

 5                                        THIRD CLAIM FOR RELIEF

 6                     (For Avoidance and Recovery of Fraudulent or Avoidable Transfers)

 7            18.       Plaintiff refers to and incorporates herein by reference each and every allegation

 8 contained in paragraphs 1 through 10, inclusive.

 9            19.       Plaintiff is informed and believes, and thereon alleges, that Debtor made the Subject

10 Transfers without receiving fair consideration or reasonably equivalent value in exchange.

11            20.       Plaintiff is informed and believes, and thereon alleges, that when the Debtor made

12 the Subject Transfers, Debtor was engaged in, or was about to engage in, business or a transaction,

13 for which any property remaining with the Debtor was unreasonably small.

14            21.       Pursuant to 11 U.S.C. §§ 544, 548(a)(1)(B)(ii)(II), 550, and other applicable law,

15 including, without limitation, California Civil Code §§ 3439.04(a)(2)(A) and 3439.07, Plaintiff is

16 entitled to avoid the Subject Transfers and to recover from Defendant the property transferred

17 under the Subject Transfers or their value, plus interest thereon at the maximum legal rate, in a sum

18 according to proof.

19

20                                       FOURTH CLAIM FOR RELIEF

21                     (For Avoidance and Recovery of Fraudulent or Avoidable Transfers)

22            22.       Plaintiff refers to and incorporates herein by reference each and every allegation

23 contained in paragraphs 1 through 10, inclusive.

24            23.       Plaintiff is informed and believes, and thereon alleges, that Debtor made the Subject

25 Transfers without receiving fair consideration or reasonably equivalent value in exchange.

26            24.       Plaintiff is informed and believes, and thereon alleges, that, when the Debtor made

27 the Subject Transfers, Debtor had already incurred, or believed or reasonably should have believed

28 that Debtor would incur, debts that would be beyond its ability to pay as such debts matured.
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 1            25.      Pursuant to 11 U.S.C. §§ 544, 548(a)(1)(B)(ii)(III), 550, and other applicable law,

 2 including, without limitation, California Civil Code §§ 3439.04(a)(2)(B) and 3439.07, Plaintiff is

 3 entitled to avoid the Subject Transfers and to recover from Defendant the property transferred

 4 under the Subject Transfers or their value, plus interest thereon at the maximum legal rate, in a sum

 5 according to proof.

 6

 7                                        FIFTH CLAIM FOR RELIEF

 8                                           (For Unjust Enrichment)

 9            26.      Plaintiff refers to and incorporates herein by reference each and every allegation

10 contained in paragraphs 1 through 10, inclusive.

11            27.      As a result of the Subject Transfers, Defendant received a benefit and unjustly

12 retained that benefit at the expense of Debtor, unsecured creditors, in an amount to be proved at

13 trial.

14

15            WHEREFORE, Plaintiff prays for judgment against the Defendant as follows:

16
              ON THE FIRST, SECOND, THIRD, AND FOURTH CLAIMS FOR RELIEF:
17
              1.       That the Subject Transfers be avoided;
18
              2.       That the Subject Transfers or the respective value thereof be recovered from each of
19
     the recipients of the transfer for the benefit of this estate; and,
20
              3.       For interest thereon from the respective date of receipt of each of the Subject
21
     Transfers.
22
              ON THE FIFTH CLAIM FOR RELIEF:
23
              4.       For damages in a sum to be proved at trial; and
24
              5.       For interest thereon from the date of each of the Subject Transfers.
25
              ON ALL CLAIMS FOR RELIEF:
26
              6.       For costs of suit incurred herein;
27
              7.       For interest according to law; and,
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 1            For all other and further relief as the Court deems just and proper.

 2

 3 DATED: August 22, 2023                         DANNING, GILL, ISRAEL & KRASNOFF, LLP

 4

 5
                                                  By:         /s/ Alphamorlai L. Kebeh
 6                                                      ALPHAMORLAI L. KEBEH
                                                        General Bankruptcy Counsel for Jinzheng Group
 7                                                      (USA) LLC, Debtor and Debtor in Possession
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
JINZHENG GROUP (USA) LLC                                                        N VISION DEVELOPMENT GROUP LLC

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
DANNING, GILL, ISRAEL & KRASNOFF, LLP
1901 Avenue of the Stars, Suite 450
Los Angeles, California 90067-6006; Tel. 310-277-0077
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□x Debtor   □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
                                                                 X
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
 Recovery of fraudulent transfer under 11 U.S.C. §§ 544, 548(a)(1)(A), 548(a)(1)(B)(i)(I), 548(a)(1)
 (B)(i)(II), 548(a)(1)(B)(i)(III), and 550.


                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□1 13-Recovery of money/property - §548 fraudulent transfer                     □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
                                                                                □
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                   72-Injunctive relief – other


□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $ 204,493.58
Other Relief Sought
                            Damages relating to Plaintiff's claim for unjust enrichment.
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
 JINZHENG GROUP (USA) LLC                                                   2:21-bk-16674-ER
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE HON.
  CENTRAL DISTRICT OF CALIFORNIA                                      LOS ANGELES                       ERNEST M. ROBLES
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


                            /s/ Alphamorlai L. Kebeh

DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
       August 22, 2023                                                  ALPHAMORLAI L. KEBEH



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
